






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NOS. AP-76,213 &amp; AP-76,214




EX PARTE WILLIAM HOWARD NELSON, Applicant




ON APPLICATIONS FOR WRITS OF HABEAS CORPUS
CAUSE NOS. 08F0195-202-A AND 07F228-202-A 
IN THE 202ND DISTRICT COURT FROM BOWIE COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court these applications for writs of habeas corpus.  Ex
parte Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of two
aggravated assault offenses and sentenced to 60 years’ imprisonment and 30  years’ imprisonment,
respectively.   
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant contends that he was deprived of his right to appeal his judgments of conviction
in these cases because his notices of appeal were untimely filed. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court has determined that Applicant was deprived of his right to appeal his
judgments of conviction and recommends that relief be granted.  We agree.  We find that Applicant
is entitled to the opportunity to file out-of-time appeals of the judgments of conviction in Cause Nos.
08F0195-202-A and 07F228-202-A from the 202nd Judicial District Court of Bowie County. 
Applicant is ordered returned to the time at which he may give written notices of appeal so that he
may then, with the aid of counsel, obtain meaningful appeals.  All time limits shall be calculated as
if the sentences had been imposed on the date on which the mandates of this Court issue.  We hold
that, should Applicant desire to prosecute appeals, he must take affirmative steps to file written
notices of appeal in the trial court within 30 days after the mandates of this Court issue.
&nbsp;
Delivered: September 16, 2009
Do Not Publish


